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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
 UNITED STATES OF AMERICA            :
                                     :
       v.                            : Criminal No. 21-CR-178 (APM)
                                     :
 JEFFREY BROWN,                      :
       Defendant.                    :
____________________________________:

                                           ORDER

       This matter having come before the Court on Defendant Jeffrey Brown’s Motion to

Sever and for the compelling reasons shown, it is therefore,

       ORDERED that the Motion is GRANTED.


                                                   ____________________________
                                                   Amit P. Mehta
                                                   United States District Court Judge
